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                              Exhibit 4
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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                                  Alexandria Division

   Sony Music Entertainment, et al,
                             Plaintiff,
                                                                  l:I8cv950-LO-JFA

  Cox Communications, Inc.,
                             Defendant.


                                                       ORDER

           A Fed. R. Civ. P. i6(b) PRETRIAL CONFERENCE will be held on Wednesday, December 19.
  2018 at 11:00 a.m. before a magistratejudge. The parties shall confer before this conference to consider the
  claims,defenses, possibilities ofa prompt settlement or resolution ofthe case,trial before a magistratejudge,
  to arrange for the disclosures required by Rule26(a)(l),and to develop a discovery plan which will complete
  discovery by Friday, June 14, 2019. A party may not exceed five (5) non-party, non-expert witness
  depositions and may not serve on any other party more than thirty(30)interrogatories, including parts and
  subparts, without leave ofcourt. Proposed discovery plans must be fi led by the Wednesday one week before
  the Rule 16(b) pretrial conference.

           Any party required to file an answer must do so within twenty(20)days.
           The FINAL PRETRIAL CONFERENCE will be held on Friday, June 21. 2019
  at 1:30 p.m.                                                                             '

           The parties must electronically file on or before the final pretrial conference the Rule 26(a)(3)
  disclosures and a list ofthe exhibits to be used at trial, a list ofthe witnesses to be called at trial and a written
  stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged with opposing
  counsel before the conference. Objections to exhibits must be filed within 10 days after the conference;
  otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be delivered to the clerk
  as provided by Local Rule 79(A). Non-expert witnesses and exhihifs nnt so disclosed and listed will not hp
  permitted at trial except for impeachment or rebuttal, and no person mav testilV who.se iHentitv. heintr snhfpr.T
  to disclosure or timely requested in discoverv. was not disclosed in time to he denospd or to nermit the
  substance of his knowledge and opinions to be ascertained. The trial of this case will be set for a day
  certain, within 4-8 weeks ofthe final pretrial conference.

          Discovery may begin as of receipt of this Order.

          PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL PUBLICLY FILED
  PLEADINGS AND EXHIBITS IN ACCORDANCE WITH LOCAL RULE 7©).



  Alexandria, Virginia                                           Liam O Grady                  ^
  December 3,2018                                                United Stales District Juc
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                                   NOTICE

                   INITIAL AND FINAL PRETRIAL FILINGS



  In accordance with Rules 5 and 73, Federal Rules of Civil Procedure, the
  following procedures are to be followed:


  Initial Pretrial

  Counsel should confer with their clients prior to the initial pretrial conference
  and be prepared to respond to inquiry by the judge regarding consent to
  exercise of jurisdiction by a United States Magistrate Judge for trial and entry
  of final judgment.


  Final Pretrial

  Witness lists and exhibit lists, signed by local counsel, accompanied by a
  certification of service are to be filed at the final pretrial conference.

  Original exhibits, labeled consistent with the exhibit list, bound and tabbed,
  to be filed one (1) business day before trial. A copy of the exhibits should be
  exchanged with opposing counsel before the final pretrial conference.




                                             Fernando Galindo
                                             Clerk of Court
      Case
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                                        UNITED STATES DISTRICT COURT
                                                                FOR THE
                                                EASTERN DISTRICT OF VIRGINIA
                                                     Alexandria Division

_______________________________, Plaintiff

V.
                                                                 Case Number: __________________________


_______________________________, Defendant


                  NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                   TO EXERCISE JURISDICTION

         In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States magistrate
judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial, and to order the
entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all parties voluntarily
consent.
         You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction from
being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding consent
will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.
          An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for this
judicial circuit in the same manner as an appeal from any other judgment of this district court.


     CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

          In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and conduct
all post-judgment proceedings.
                  Party                                  Signature of Counsel or Pro Se Party                       Date
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________


                                                    ORDER OF REFERENCE
        IT IS ORDERED that this case be referred to a United States Magistrate Judge to conduct all proceedings and order the entry
of judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P. 73.


____________________________                        _____________________________________________________
         Date                                                             United States District Judge

       NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED
             TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
